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                                                                            Page 1
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


              ------------------------------)
                                            )
                                            )
                                            )
              IRA KLEIMAN, as the personal )CASE NO:
              representative of the Estate )9:18-cv-80176-BB/BR
              of David Kleiman, and W&K Info)
              Defense Research, LLC         )
                                            )
                        Plaintiffs,         )
                                            )
              v.                            )
                                            )
                                            )
              CRAIG WRIGHT                  )
                                            )
                        Defendant.          )
                                            )
                                            )
              ------------------------------)



                                  Videotape Deposition of
                                    CRAIG STEVEN WRIGHT

                                On Thursday, 4th April 2019


                                  Taken at the offices of:

                                 Boies Schiller Flexner LLP
                                   5 New Street Square,
                                      London EC4A 3BF

                                Reported by:     Paula Foley
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         1                   A P P E A R A N C E S
         2    On behalf of the Plaintiffs:
         3            VELVEL (DEVIN) FREEDMAN, ESQ.
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         5
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         8
         9    On behalf of the Defendant:
        10            ANDRÉS RIVERO
                      ZAHARAH R. MARKOE
        11            Rivero Mestre LLP
                      2525 Ponce de Leon Blvd.
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        13
        14
              Court Reporter:
        15
                        PAULA FOLEY
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                        1635 Market Street,
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        18              United States
        19
              Also Present:
        20
                       PHILIP HILL (Videographer, Magna Legal
        21             Services)
        22             ANDREW S. BRENNER, ESQ (Boies Schiller
                       Flexner LLP) for the Plaintiff By Telephone
        23
                       JOHN MCADAMS, ESQ (Boies Schiller Flexner
        24             LLP) By Telephone
        25             IRA KLEIMAN (Plaintiff) By Telephone
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         5               Q.      In 2007, did you speak with Dave Kleiman

         6     about blockchain, timechain or Bitcoin?

         7               A.      I do not remember the first time that

         8     I actually mentioned it to Dave.

         9               Q.      It could have been in 2007?

        10               A.      It was either 2007 or 2008.        There's an

        11     e-mail that I believe people have a copy of.            I do not

        12     remember the date of the e-mail.

        13               Q.      What does the e-mail say?

        14                       MS. MARKOE:     Objection.

        15                       THE WITNESS:     I do not remember what the

        16     e-mail says.     I think it speaks for itself.

        17    BY MR. FREEDMAN:

        18               Q.      What was the purpose of e-mailing Dave

        19     Kleiman?

        20                       MS. MARKOE:     Objection.

        21                       THE WITNESS:     I wanted Dave to give me

        22     some help with editing a paper.

        23    BY MR. FREEDMAN:

        24               Q.      Which paper?

        25               A.      In this particular e-mail that I believe
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                                                                           Page 64
         1     you are saying, the Bitcoin white paper.

         2               Q.      The date of that e-mail -- does it help

         3     you recollect if I tell you that that e-mail is in March

         4     of 2008?

         5               A.      Yes, I will believe that that is the

         6     date, then, and the date about that was March 2008 if

         7     that is what it says.
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                                                                           Page 79




         6               Q.      I am handing you what is marked as

         7     Plaintiff's Exhibit 1.       This purports to be an e-mail

         8     from you to Dave Kleiman dated 12th March 2008.            Do you

         9     recognise this e-mail?

        10               A.      I recognise what you have there.

        11               Q.      Is this the e-mail that you sent?

        12                       MS. MARKOE:     Objection.

        13                       THE WITNESS:     No.

        14    BY MR. FREEDMAN:

        15               Q.      Why is it not the e-mail you sent?

        16               A.      Because this is an import into a

        17     different mail server that existed at a later time.

        18               Q.      Is this an identical copy of the e-mail

        19     you sent to Dave Kleiman?

        20                       MS. MARKOE:     Objection.

        21                       THE WITNESS:     No, because when you import

        22     something from one exchange server to another it is not

        23     identical.

        24    BY MR. FREEDMAN:

        25               Q.      Is the text of the e-mail identical?
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                                                                           Page 80
         1                       MS. MARKOE:     Objection.

         2                       THE WITNESS:     I am unable to say whether

         3     it is identical.      It looks the same.

         4    BY MR. FREEDMAN:

         5               Q.      Did you send this original e-mail on 12th

         6     March 2008?

         7                       MS. MARKOE:     Objection.

         8                       THE WITNESS:     This is not an e-mail.

         9    BY MR. FREEDMAN:

        10               Q.      Did you send an e-mail that looks the

        11     same as this on 12th March 2008?

        12                       MS. MARKOE:     Objection.

        13                       THE WITNESS:     I sent an e-mail that

        14     contains the body that was approximately like that, if

        15     not like that.     I cannot say exactly because this is a

        16     copy and whatever else, but that is very familiar, and

        17     that would appear to be the e-mail I sent, yes.

        18    BY MR. FREEDMAN:

        19               Q.      On 12th March 2008?

        20                       MS. MARKOE:     Objection.

        21                       THE WITNESS:     Yes.
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                                                                           Page 91




         7    BY MR. FREEDMAN:

         8               Q.      Who owned the Craig Wright R&D in the

         9     Seychelles?

        10                       MS. MARKOE:     Objection.

        11                       THE WITNESS:     I am unable to answer the

        12     "who owned" because each of the companies, or whatever

        13     else I have, has a complex ownership structure.            At the

        14     end of the day, I own nothing.         I do not own a single

        15     share in any company that I know of.          I do not own a

        16     single disposition of a trust that I know of.            I have no

        17     ownership of anything, which is what you are trying to

        18     get at.    I have very carefully constructed something

        19     where I get to direct my research and own nothing.

        20    BY MR. FREEDMAN:

        21               Q.      So I appreciate, again, that you are

        22     anticipating where I am going, but please just answer

        23     the question.

        24               A.      I believe that was answering the

        25     question.
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                                                                           Page 92
         1               Q.      Actually, I just want to know who owns

         2     them, not if you own them.        Who owns them?

         3                       MS. MARKOE:     Objection.

         4                       THE WITNESS:      I believe I was ----

         5                       MS. MARKOE:     You may answer.

         6                       THE WITNESS:      I believe I was answering.

         7     My answer is I have set up something so that I do not

         8     need to know who owns them.         I do not know who owns

         9     nChain now.

        10    BY MR. FREEDMAN:

        11               Q.      Who knows who owns Craig Wright R&D?

        12                       MS. MARKOE:     Objection.

        13                       THE WITNESS:      I have ensured that I know

        14     nothing about the ownership of the companies I am with.

        15    BY MR. FREEDMAN:

        16               Q.      Who did you make that arrangement with?

        17                       MS. MARKOE:     Objection.

        18                       THE WITNESS:      Other individuals.

        19    BY MR. FREEDMAN:

        20               Q.      What are the names of those individuals?

        21                       MS. MARKOE:     Objection.

        22                       THE WITNESS:      I do not remember all of

        23     their names.     Those people are no longer part of my

        24     life.

        25    BY MR. FREEDMAN:
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                                                                           Page 93
         1                Q.      Do you remember any of their names?

         2                        MS. MARKOE:     Objection.

         3                        THE WITNESS:     Yes.

         4    BY MR. FREEDMAN:

         5                Q.      Can you tell me the names that you do

         6      recall?

         7                        MS. MARKOE:     Objection.

         8                        THE WITNESS:     There was a Mark in High

         9      Secured in Panama.

        10    BY MR. FREEDMAN:

        11                Q.      Anyone else?

        12                A.      I am thinking.      (Pause) No, I do not

        13      remember the names.

        14                Q.      Do you remember Mark's last name?

        15                A.      No, I do not.

        16                Q.      Mark was part of the people that took

        17      care of the ownership of Craig Wright R&D for you?

        18                        MS. MARKOE:     Objection.

        19                        THE WITNESS:     I do not know exactly what

        20      they did.      People set up structures.

        21    BY MR. FREEDMAN:

        22                Q.      You trusted these people to set up

        23      structures for your companies?

        24                        MS. MARKOE:     Objection.

        25                        THE WITNESS:     High Secured was a law
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                                                                           Page 94
         1     firm.

         2    BY MR. FREEDMAN:

         3               Q.       So you trusted a law firm to set up

         4     ownership structures for your companies?

         5               A.       Yes.

         6               Q.       And you have no way to get those records

         7     today?

         8               A.       Not that I know of.

         9               Q.       Did Craig Wright R&D ever mine Bitcoin?

        10                        MS. MARKOE:    Objection.

        11                        THE WITNESS:     No.
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                                                                          Page 196




         9               Q.       So as I understand it, from December of

        10     2010, until 2016, you never earned the mining reward for

        11     mining a block of Bitcoin; is that correct?

        12                        MS. MARKOE:    Objection.     You can answer.

        13                        THE WITNESS:     That is correct.
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                                                                          Page 198




        24               Q.       To the best of your recollection, did

        25     Dave Kleiman have any knowledge of the mining you were
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                                                                          Page 199
         1     doing in Bagnoo?

         2                        MS. MARKOE:    Objection.

         3                        THE WITNESS:     Yes, he did.

         4    BY MR. FREEDMAN:

         5               Q.       How did he come to find out about that?

         6               A.       He knew I had a property in Bagnoo and

         7     that I was running Bitcoin nodes.
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                                                                          Page 227




         9               Q.       I have handed you what we have marked as

        10     Plaintiff's Exhibit 4.        Can you go to the bottom,

        11     please, of page 4.        Do you recognise what this document

        12     is?

        13               A.       Yes.    This was a document put together by

        14     staff at one of my companies.

        15               Q.       Did you send this document to

        16     Ira Kleiman?

        17               A.       I presume so, seeing as it is chronology

        18     of Craig Wright to Ira K.
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                                                                          Page 288




        16    BY MR. FREEDMAN:

        17               Q.       Did Ms. Nguyen ever become a trustee for

        18     you?

        19                        MS. MARKOE:    Objection.

        20                        THE WITNESS:     In what sense?

        21    BY MR. FREEDMAN:

        22               Q.       Was she ever a trustee that you were --

        23     strike that.     Was she ever the trustee over a trust that

        24     you were the beneficiary of?

        25               A.       What sort of trust are we talking about?
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                                                                          Page 289
         1               Q.       Any.

         2               A.       Then yes.

         3               Q.       Can you tell me what that trust was

         4      about?

         5                        MS. MARKOE:     Objection.     You can answer.

         6                        THE WITNESS:     That trust was holding a

         7      number of slices of early Bitcoin keys.

         8    BY MR. FREEDMAN:

         9               Q.       Does that mean that it controlled

        10      Bitcoin?

        11                        MS. MARKOE:     Objection.

        12                        THE WITNESS:     Nobody controls Bitcoin.

        13    BY MR. FREEDMAN:

        14               Q.       Does that mean it owned Bitcoin?

        15                        MS. MARKOE:     Objection.

        16                        THE WITNESS:     No, that does not mean it

        17      owned Bitcoin.

        18    BY MR. FREEDMAN:

        19               Q.       What was the name of the trust?

        20               A.       Which trust?

        21               Q.       How many was Uyen a trust on?

        22               A.       I do not know.

        23               Q.       How many are you aware of her being a

        24      trustee on?

        25               A.       At least one.
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                                                                          Page 290
         1               Q.       What is the name of that trust?

         2               A.       There was a trust called the Tulip Trust.

         3               Q.       Is that trust no longer in existence?

         4               A.       The trust was formalised early on and is

         5     not the informal thing from 2011.

         6               Q.       I am not following. When was the

         7     Tulip Trust created?

         8               A.       2011.

         9               Q.       Who created it?

        10               A.       Me.

        11               Q.       Who were the trustees when you created

        12     it?

        13               A.       I do not remember.      I would need to look

        14     at the document.

        15               Q.       Where are the documents?

        16               A.       I do not have the documents.

        17               Q.       Who has the documents?

        18               A.       I do not know.

        19               Q.       Who were the beneficiaries of the

        20     Tulip Trust in 2011?

        21               A.       I do not have the document.        I cannot

        22     answer that.

        23               Q.       What assets were controlled by the

        24     Tulip Trust in 2011?

        25               A.       Companies that I hold overseas, such as
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                                                                          Page 291
         1     Wright International Investments that I founded in 2009,

         2     and Tulip Trading.

         3               Q.       What is Tulip Trading?

         4               A.       It is a company.

         5               Q.       So, when it was founded in 2011, it never

         6     controlled the rights to any Bitcoin?

         7                        MS. MARKOE:    Objection: vague.

         8                        THE WITNESS:     That is not what I said.

         9     The rights ----

        10    BY MR. FREEDMAN:

        11               Q.       How did -- sorry, go ahead.

        12               A.       The rights to Bitcoin and controlled are

        13     different.     You are mixing all your bits and pieces,

        14     yes.

        15               Q.       Did the Tulip Trust own any Bitcoin at

        16     any point from 2011 until 2013?

        17               A.       The trust does not own generally.         A

        18     trust holds in trust.

        19               Q.       I do not want to get into an argument

        20     with you about the structure of trusts, I am just trying

        21     to get to the bottom of, did the trust have control over

        22     Bitcoin?

        23               A.       Which Bitcoin?

        24               Q.       Any Bitcoin.

        25               A.       Yes.
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                                                                          Page 292




        18               Q.       Was Dave Kleiman ever involved with the

        19     Tulip Trust?

        20                        MS. MARKOE:    Objection.     You may answer.

        21                        THE WITNESS:     Dave Kleiman was not

        22     involved in the Tulip Trust as it is.           What you are

        23     trying to get at was because I asked him to hold

        24     documents for a while does that make him part of the

        25     trust.    Dave was never a beneficiary of the trust.           Dave
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                                                                          Page 293
         1     never put money into the trust.         Dave never had any

         2     Bitcoin in the trust.       Dave never mined any Bitcoin that

         3     had anything to do with the trust.          None of the Bitcoin

         4     was ever involved with any mining in the US.            No Bitcoin

         5     was post 2010 from that trust.         No company Dave owned

         6     was involved with the trust.         No shares Dave owned was

         7     involved with the trust.        Nothing Dave owned was

         8     involved with the trust.        Dave had no rights to the

         9     trust, no ownership of the trust, no knowledge of the

        10     set-up of the trust.       He did not know about the

        11     companies in the trust.        He did not know about Wright

        12     International Investments that I set up in 2009.             Dave

        13     did not know about any of those details.           Dave was asked

        14     simply to hold a part of some documents and keys that

        15     were split using Shamir's Secret Sharing scheme so that

        16     he did not even know what he was actually holding.




        20    BY MR. FREEDMAN:

        21               Q.       Did you put Bitcoin into the trust in

        22     2011?

        23                        MS. MARKOE:    Objection.     You may answer.

        24                        THE WITNESS:     I founded the trust.

        25    BY MR. FREEDMAN:
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                                                                          Page 294
         1               Q.       Did you put Bitcoin into the trust in

         2      2011?

         3                        MS. MARKOE:     Objection.

         4                        THE WITNESS:     No.

         5    BY MR. FREEDMAN:

         6               Q.       Did you put Bitcoin into the trust in

         7      2012?

         8                        MS. MARKOE:     Objection.

         9                        THE WITNESS:     No.

        10    BY MR. FREEDMAN:

        11               Q.       Did you ever put Bitcoin into the trust?

        12                        MS. MARKOE:     Objection.

        13                        THE WITNESS:     No.

        14    BY MR. FREEDMAN:

        15               Q.       Did anyone ever put Bitcoin into the

        16      trust?

        17                        MS. MARKOE:     Objection.

        18                        THE WITNESS:     No.

        19    BY MR. FREEDMAN:

        20               Q.       Did the Tulip Trust ever come to hold

        21      private keys to Bitcoin wallets?

        22               A.       No.

        23               Q.       Did it ever come to own or possess

        24      private keys to Bitcoin addresses?

        25               A.       No.
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                                                                          Page 295
         1               Q.       What is the relationship between the

         2     Tulip Trust and Bitcoin?

         3                        MS. MARKOE:    Objection.     Again, where are

         4     we on the topics?

         5                        THE WITNESS:     What the hell does that

         6     question even mean?
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                                                                          Page 314


         2               Q.       Does Ms. Nguyen still maintain a trust

         3     role in relation to companies that are related to you?

         4                        MS. MARKOE:    Objection.     You can answer.

         5                        THE WITNESS:     No.

         6    BY MR. FREEDMAN:

         7               Q.       She is no longer a trustee of any trusts

         8     related to you?

         9                        MS. MARKOE:    Objection.     You may answer.

        10                        THE WITNESS:     That is what I just said.

        11    BY MR. FREEDMAN:

        12               Q.       When did she stop becoming a trustee of

        13     trusts related to you?

        14               A.       2015.
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                                                                          Page 315
         1    BY MR. FREEDMAN:

         2               Q.       Dr. Wright, I am handing you what has

         3     been marked now as Plaintiff's Exhibit 8.           This is some

         4     exchange of e-mails between you and Ira Kleiman; do you

         5     recognise that?

         6               A.       Yes.
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                                                                          Page 317




        14               Q.       Can you look at page 2 of 5, please.

        15               A.       Yes.

        16               Q.       Can you look at the message that comes

        17     from Ira to you at March 2nd, 2014.          Can you read that

        18     for the record?

        19               A.       "From: '----'".

        20               Q.       Dr. Wright, please just read the body of

        21     the e-mail.

        22               A.       "Just to clarify on thoughts from

        23     previous e-mail... In one of the email exchanges between

        24     Dave and you, he mentioned that you had 1 million

        25     Bitcoins in the trust and since you said he has 300,000
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                                                                          Page 318
         1     as his part I was figuring the other 700,000 is yours.

         2     Is that correct?      Ira."

         3               Q.       Can you read above that your response at

         4     March 1st, 2014 at 3 p.m.?

         5               A.       Mine.   "Around that.     Minus what was

         6     needed for the company's use."

         7               Q.       So, where is the 300,000 that belonged to

         8     Dave?

         9                        MS. MARKOE:    Objection.     Can you tie that

        10     to one your topics, please?

        11                        MR. FREEDMAN:     4: "The location and

        12     duration of Dave, W&K and Craig's mining of Bitcoin from

        13     2009 until 2013."

        14                        MS. MARKOE:    You are not talking about

        15     mining now, you are talking about actual Bitcoin.             Those

        16     are two separate topics.        This does not relate to number

        17     4.

        18                        MR. FREEDMAN:     Okay, so either instruct

        19     him not to answer or allow the question.

        20                        MS. MARKOE:    I am going to instruct him

        21     not to answer.

        22    BY MR. FREEDMAN:

        23               Q.       Can you go down to the February 28th,

        24     2014 e-mail.

        25               A.       Mmm-hmm.
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                                                                          Page 319
         1               Q.       You say:    "The trust Dave setup should

         2     have around 300,000."       Do you see that?

         3               A.       Yes.

         4               Q.       Is that 300,000 Bitcoin?

         5               A.       Yes.

         6               Q.       Where is the trust Dave set up?

         7               A.       Dave set up a series of trusts as well.

         8     One was in Belize, which was not GICSR, he also had one

         9     in Panama and companies in Costa Rica.

        10               Q.       Do you have any information on who helped

        11     him set those up?

        12               A.       No.

        13               Q.       Can you read the next sentence for me?

        14               A.       "We moved everything offshore as a result

        15     of my early fight with the Tax office.           This was back in

        16     2011.    The BTC would be on a server on hard drive, just

        17     the rights are overseas."

        18               Q.       Here you say:     "We moved everything

        19     offshore"?

        20               A.       I use a royal "we" all the time, so if

        21     you are taking "we", "we" rarely means, for me, multiple

        22     people.    I talk.    As my lawyers keep instructing me,

        23     stop saying "we".
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        19               Q.       So is it your testimony here today,

        20     Dr. Wright, that when you used "we" here, you were

        21     referring only to yourself?

        22               A.       Independently Dave set up his own trust.

        23               Q.       I am talking about your use of the word

        24     "we".

        25               A.       I am talking, and explaining this.
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                                                                          Page 321
         1     I moved my things, Dave moved his things, independently.

         2     We did not do it together.        It was a quick, flippant

         3     e-mail to a con man who will take things out of context.

         4     Basically, as this says, BTC would be on a server or

         5     hard drive.     My suspicion is that it is the one Dave had

         6     with him at nearly all time.
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        20    BY MR. FREEDMAN:

        21               Q.       Mr. Wright, I have handed you what has

        22     been marked now as Plaintiff's Exhibit 10.

        23               A.       Yes.

        24               Q.       Do you recognise what these are?

        25               A.       Yes, they are a statement of claim.
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                                                                          Page 348
         1               Q.       Who is the plaintiff in this action?

         2               A.       The plaintiff is Craig Steven Wright.

         3               Q.       Is that yourself?

         4               A.       Yes, via ---

         5                        MS. MARKOE:     Objection.     You can answer.

         6                        THE WITNESS:     Yes, via a business trust.
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                                                                          Page 357




        15               Q.       Can you go to page 13 for me.        The

        16     signature in the middle of the page, is that your

        17     signature?

        18               A.       Yes.

        19               Q.       Can you go to page 6 for me.        Is that

        20     signature in the middle of the page your signature?

        21               A.       Yes.
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        13    BY MR. FREEDMAN:

        14               Q.       Dr. Wright, did you ever tell Dave

        15      Kleiman how much Bitcoin you mined?

        16               A.       No.
